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                                                                                 FILED
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIAl                    NOV 2 8 2014
                                (Newport News Division)                                        i
                                                                          CLERK US DISTRICT COURT
LARRY D. REESE,                                                               MPWPnm NFWS.VA


       Plaintiff,

v.                                                Civil Action No.: ^\ ". \/i(^(/ (*%p
J.C. PENNEY COMPANY, INC. et a/.,

       Defendants.

                                  NOTICE OF REMOVAL

       Defendant J.C. PENNEY COMPANY, INC. ("J.C. Penney"), by and through

counsel, hereby gives notice of removal of the above action from the Circuit Court of the

City of Hampton, Virginia ("Circuit Court"), to the United States District Court for the

Eastern District of Virginia, Newport News Division, pursuant to 28 U.S.C. §§ 1332(a),

1441 and 1446. As set forth below, this Court has original diversity jurisdiction over this

action pursuant to Section 28 U.S.C. § 1332. All requirements for removal of this action

are met through the allegations contained in the pleadings filed in the Circuit Court and

in this Notice of Removal.

       In support of this Notice of Removal, J.C. Penney states as follows:

       1.      There is pending in the Circuit Court of the City of Hampton, Virginia, a

Complaint styled Larry D. Reese v. J.C. Penney Company. Inc. et a/. Case No. CL14-

2009 (the "State Court Action"). The Complaint in the State Court Action was filed on or

about October 8, 2014. A copy of the Complaint is attached hereto as Exhibit A.

       2.      Defendant Winter Construction Company consents to removal.
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